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Attc)rneys for Plaintiff,

ASHLEY ESRY
UNITEI) STATES DISTRICT COURT
DISTRICT 0F KANSAS
ASHLEY ESRY, case NO.= 2=13-cv-02008-JTM~KGG
Plaintiff, voLUNTARY DISMISSAL
VS.

CBE GROUP, INC.; and DOES 1
through 1(), inclusive,

Defendants,

 

 

VOLUNTARY })ISMISSAL WITH PREJUDICE
Pursuant to FRCP 41(21)(1), Pl_ai.ntiff ASHLEY ESRY hereby voluntarily
dismiss her claims, With prejudice, against Det`endants CBE GROUP, INC; and

DOES l through 10, inclusive

RESPECTFULLY SUBMITTED,
DATED: March 20 2013 PRICE LAW GR()UP APC

By: /S/ Mark D. Mo]ner

Mark D. Moln@r, ES .
Attomey for Plaintif

 

 

 

 

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VOL.UNTARY DISMISSAL

 

